                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
 v.                                              )
                                                 )      Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                               )
                                                 )      Dated: September 30, 2022
         Defendant.                              )
                                                 )

                                               ORDER
       On September 29, 2022, Defendant filed a response in opposition to the Government’s
motion for an order pursuant to Local Rules 204 and 603 in the above-captioned criminal matter.
See Def. Resp.; ECF No. 123. Defendant included certain confidential responses of prospective
jurors to the Court’s juror questionnaire for this matter and juror numbers in this filing. See Def.
Resp. at 8.

       Local Rule 204.1 provides that “[a]n attorney shall not directly or indirectly release . . .
any information or opinion concerning any imminent or pending criminal litigation if there is a
reasonable likelihood that the release of the information or opinion will interfere with a fair trial
or otherwise prejudice the due administration of justice.” L.R. 204.1. Additionally, Local Rule
204.4 instructs that counsel “shall not give or authorize any extra-judicial statement or interview,
relating to the trial or the parties or issues in the trial, for dissemination by any means of public
communication.” While this rule provides an exception for public court records, the Court’s
juror questionnaire and the confidential responses thereto are not public records. L.R. 204(4).
Lastly, Local Rule 204.6 provides that any violation of the rule “may be treated as a contempt of
court and may subject the violator to the disciplinary action of the Court.” L.R. 204.6.

       In light of the foregoing, the Court:

       1.      DIRECTS the Clerk of the Court to STRIKE Defendant’s response in opposition
               to the Government’s motion for an order pursuant to Local Rules 204 and 603
               (ECF No. 23);
2.   DIRECTS Defendant to RE-FILE her response in opposition, consistent with
     Local Rule 204, on or before October 3, 2022;

3.   MODIFIES the Amended Scheduling Order, dated September 15, 2022, to
     extend the deadline for the Government’s reply to October 10, 2022; and

4.   DIRECTS counsel for Defendant to SHOW CAUSE as to why the Court should
     not impose the penalty set forth in Local Rule 204.6 based upon the subject filing,
     on or before October 7, 2022.



IT IS SO ORDERED.



                                       s/ Lydia Kay Griggsby
                                       LYDIA KAY GRIGGSBY
                                       United States District Judge




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